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                        IN THE UNITED STATES DISTRICT COURT

                       FOR THE EASTERN DISTRICT OF VIRGINIA

                                       Richmond Division

UNITED STATES OF AMERICA                      ) CRIMINAL NO. 3:16cr111
                                              )
                         v.                   )
                                              )
SHERMAN CARL VAUGHN, JR.,                     )
                                              )
                                              ) The Honorable John A. Gibney, Jr.
               Defendant.                     )


   GOVERNMENT’S SUPPLEMENTAL POSITION WITH RESPECT TO SENTENCING
       The United States of America, by and through undersigned counsel, agrees that the

probation officer correctly calculated an advisory Guidelines range of 70-87 months’

imprisonment. After further review, the government concluded that the defendant’s offense level

appropriately does not include a vulnerable victim enhancement consistent with Section 1B1.8 of

the United States Sentencing Guidelines. Therefore, the position of the United States (originally

filed in August 2017) remains the same; the purposes of Title 18, United States Code, Section

3553(a) are met by imposing a sentence of 87 months.

                                             Dana J. Boente
                                             United States Attorney

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                                  CERTIFICATE OF SERVICE


        I hereby certify that on the 22nd day of January 2018, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send a notification of such
filing (NEF) to the following:
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